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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

IN RE: SENSIPAR (CINACALCET
HYDROCHLORIDE TABLETS)                           MDL No. 19-2895 (LPS)
ANTITRUST LITIGATION

THIS DOCUMENT RELATES TO:
                                                 C.A. No. 19-396 (LPS)
ALL DIRECT PURCHASER ACTIONS                     C.A. No. 19-1460 (LPS)
and                                              C.A. No. 19-369 (LPS)
ALL END PAYOR ACTIONS                            C.A. No. 19-1461 (LPS)


                                    NOTICE OF SERVICE

       The undersigned hereby certifies that copies of Amgen Inc.’s Disclosures Pursuant to

Paragraph 3 of the Default Standard for Discovery were caused to be served on December 16,

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December 16, 2019




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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 16, 2019, I caused the foregoing to be electronically

filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

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       I further certify that I caused copies of the foregoing document to be served on December

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